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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

GEORGIA M. BROWN,

                       Plaintiff,                             Case Number 16-10618
v.                                                            Honorable David M. Lawson

UNITED HEALTH GROUP — OPTUM
DIVISION,

                  Defendant.
________________________________________/

              ORDER DENYING PLAINTIFF’S MOTION REQUESTING
            PRESERVATION OF THE RECORD AND FOR OTHER RELIEF

       This matter is before the Court on the plaintiff’s motion “to allow the filings in this case to

remain intact.” On February 19, 2016, the plaintiff filed her complaint alleging that she was

subjected to unlawful race-related discrimination and retaliation. On January 16, 2018, after

receiving no objections from the plaintiff, the Court adopted a recommendation by the assigned

magistrate judge and entered a judgment of dismissal.

       The plaintiff filed an untimely notice of appeal on March 7, 2018. The court of appeals

dismissed the appeal for want of jurisdiction in June 2018. More than five years later, on

December 13, 2023, the plaintiff filed a motion seeking “case reevaluation based on newly

discovered evidence.” The Court denied that motion and also subsequently denied two more

motions by the plaintiff seeking reconsideration of the dismissal ruling.

       More than six years after the file was closed, the plaintiff began periodically submitting a

series of papers including a “response” to several of the Court’s orders, a “notice of additional

evidence,” an “addendum” to other filings, and several “complaints” and “requests.” The Court

observed that the matter had been closed for several years, and that no purpose was served by
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entertaining the repetitive and impertinent filings, and the Court therefore directed the Clerk of

Court to strike the post-judgment filings.

       On March 20, 2024, the plaintiff filed a motion styled as a request “to allow the filings in

this case to remain intact,” on the ground that a “review” of the record will “confirm” that the

plaintiff’s counsel was negligent in the handling of the case and that relief from the judgment of

dismissal is warranted under Federal Rule of Civil Procedure 60(b)(6). The Court previously

denied the plaintiff’s motion for relief from judgment, two motions for reconsideration, and a

motion seeking further post-judgment relief on substantially the same grounds as the previous two

motions. See Orders Denying Post-Judgment Motions, ECF No. 64, 68, 75. The substance of the

present motion merely reiterates the same arguments that the Court considered and rejected when

it denied the earlier motions. The plaintiff has not established any legal or equitable grounds for

setting aside the final judgment of dismissal. Moreover, the plaintiff’s grievances against her

lawyer’s handling of the case sound in legal malpractice, but this is not a malpractice action, and

even if the plaintiff properly had presented such a claim under the applicable state law, the plaintiff

has not established that the Court would have subject matter jurisdiction to address it.

       Accordingly, it is ORDERED that the plaintiff’s motion to preserve the record and for

other relief (ECF No. 76) is DENIED for lack of merit in the grounds presented.

                                                               s/David M. Lawson
                                                               DAVID M. LAWSON
                                                               United States District Judge

Dated: April 2, 2024




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